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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILLIAN SCHROTBERGER,                        :
      Plaintiff,                             :
                                             :       21-cv-0364-JMY
       v.                                    :
                                             :
JOHN DOE, as the ADMINISTRATOR               :
of the ESTATE OF ANDREAS                     :
SCHNEIDER-NEUREITHER, et al,                 :
        Defendants.                          :

                                    SCHEDULING ORDER

       AND NOW, this 9th day of September, 2022, upon consideration of the parties’ Joint

Report of Rule 26(f) Meeting (ECF No. 49), and the representations made by counsel at the Rule

16 conference held on November 18, 2021, it is ORDERED as follows:

       1.       The parties shall comply with the following deadlines:

                a.     All fact discovery shall be completed by Tuesday, January 17, 2023.

                b.     The parties shall produce their expert report(s) by Tuesday, January 31,

2023; rebuttal expert report(s) shall be produced by Tuesday, February 14, 2023; all expert

discovery, including all depositions of expert witnesses, shall be completed by Tuesday,

February 28, 2023.

                c.     All motions for summary judgment and Daubert motions shall be filed no

later than Thursday, March 30, 2023. Responses to such motions shall be filed no later than

Monday, May 1, 2023.

       2.       This case is referred to United States Magistrate Judge Carol Sandra Moore-Wells

for settlement purposes. Judge Moore-Wells will contact counsel to initiate the settlement

process. As a general rule, the Court will not extend or stay the foregoing case management

deadlines pending the conduct of settlement discussions.
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         3.       A Final Pretrial Conference will be held on Tuesday, August 1, 2023 @ 10:00

a.m. Counsel shall appear by remote video and will be notified by Chamber via email with

instruction on how to participate remotely. No later than seven (7) days before the Final

Pretrial Conference, the parties shall file their Pretrial Memoranda in accordance with Local

Rule of Civil Procedure 16.1(c) and Judge Younge’s Policies and Procedures. A trial date, and

deadlines for other pretrial submissions (such as exhibits, jointly proposed voir dire and jury

instructions, and motions in limine), will be set by the Court at, or shortly after, the Final Pretrial

Conference.

         4.       Counsel are referred to Judge Younge’s operating procedures for further

information: http://www.paed.uscourts.gov/judges-info/district-court-judges/john-milton-

younge

         IT IS SO ORDERED.



                                                        BY THE COURT:

                                                         /s/ John Milton Younge
                                                        JUDGE JOHN MILTON YOUNGE




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